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 AOC-E-105                 Sum Code: CI
 Rev. 9-14                                                                                Case #: 17-CI-00326
 Commonwealth of Kentucky                                                                 Court: CIRCUIT
 Court of Justice Courts.ky.gov                                                           County: BOONE
 CR 4.02; Cr Official Form 1                       CIVIL SUMMONS


Plantiff, WILSON, ANGELA VS. EQUIFAX, INC., ET AL, Defendant

                                                                                                                                     0
    TO: THE PRENTICE HALL CORPORATION SYSTEM
              421 WEST MAIN STREET
              FRANKFORT, KY 40601

The Commonwealth of Kentucky to Defendant:
EQUIFAX, INC.

   You are hereby notified that a legal action has beell filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against y ou or his/her (their) attorney (s) are shown on the
document delivered to you with this Summons.



                                                                  /s/ Dianne Murray, Boone Circuit Clerk
                                                                  Date: 03/09/2017




                                                   Proof of Service
    This Summons was:

❑ Served by delivering a true copy and the Complaint (or other initiating document)

        To:

❑ Not Served because:
                                                                                                                                     0


    Date:                                  , 20
                                                                                                Served By


                                                                                                   Title

Summons ID: 4609173269835@00000306768,
CIRCUIT: 17-CI-00326 Certified Mail
WILSON, ANGELA VS. EQUIFAX, INC., ET AL                                                                       ~


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                                    COMMONWEALTH OF KENTUCKY
                                       BOONE CIRCUIT COURT
                                           DIVISION
                                        JUDGE
                                         CASE NO.
                                                                                                           C.
        ANGELA WILSON                                                                   PLAINTIFFS


        V.


        EQUIFAX, INC.                                                                 DEFENDANTS

                Serve:
                The Prentice Hall Corporation System
                421 West Main Street
                Frankfort, KY 40601

        TRUPARTER CREDIT UNION, INC.
        c/o KATHY HAAS, Registered Agent
        1717 Western Avenue
        Cincinnati, OH 45214

                Serve:
                KENTUCKY SECRETARY OF STATE



                                                   COMPLAINT
    ~




        The Plaintiff, Angela Wislon, by counsel, for her Complaint against Defendant, Equifax, Inc. and

        TruPartner Credit Union, Inc., states as follows:

                                             INTRODUCTION

                1.     This is an action for actual damages, statutory damages,, and punitive damages      C


        brought by Plaintiff against the Defendants for willful, knowing, and/or negligent violations of

        Chapter 41, the Consumer Credit Protection Credit Act, of Title 15 (Commerce and Trade) of




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        the United States Code, specifically, 15 U.S.C. § 1681 et seq. (known as the "Fair Credit

        Reporting Act", hereafter the "FCRA"), which relates to the compilation and dissemination of

        consumer credit and other financial information. Plaintiff also asserts claims against the
                                                                                                           0
        Defendants under state law for defamation, outrage, and invasion of privacy.

                                     JURISDICTION AND VENUE

               2.      Plaintiff Angela Wilson a resident of Madison, Jefferson County, Indiana.

               3.      Defendant, Equifax, Inc. ("Defendant" or "Equifar"), is a corporation

        organized and existing under the laws of the State of Georgia and is engaged in the business of

        acquiring, using, furnishing, and disseminating consumer information in the Commonwealth of

        Kentucky. Equifax has principal offices located in Atlanta, Georgia. Equifax is a"consumer

        reporting agency", as said term is defined and/or contemplated in the FCRA, with respect to the

        matters referenced herein.

               4.      Defendant TruPartner Credit Union, Inc. ("TruPartner"), is a non-profit

        corporation organized and existing under the laws of the state of Ohio. Defendant TruPartner is

        in the business of making and servicing consumer loans in the Commonwealth of Kentucky.

        Defendant TruPartner has principal offices located in Cincinnati, Ohio. At all pertinent times

        herein, TruPartner was a"furnisher," as said term is defined and/or contemplated in the FCRA,

        with respect to the matters referenced herein.

               5.      Plaintiff seeks damages in excess of the minimum damages available in this Court.

               6.      This Court has jurisdiction over this action by virtue of KRS 23A.010 and           4



        Kentucky's Constitution § 112(5).




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               7.      Venue in this Court is . proper because the Plaintiff resided in this county at

        pertient times, the conduct complained of occurred here, and Defendants transact business in

        this county.
                                                                                                                0
                                                      FACTS

               8.      In or around May 2015, Plaintiff sought to purchase a home to use as her primary

        residence. To finance the purchase, Plaintiff applied for a home loan with one or more lenders.

        However, Plaintiff's requests for credit were denied based on false, derogatory information in her

        Equifax consumer report furnished by TruPartner, including numerous late payments.

               9.      Thereafter, Plaintiff disputed the inaccurate information with TruPartner and

        Equifax, but to no avail. As a result, Plaintiff was unable to obtain a loan to purchase the home.

               10.     In or around October 2015, Plaintiff sought to purchase another home to use as

        her primary residence. To finance the purchase, Plaintiff applied for a home loan with one or

        more lenders. However, Plaintiff's requests for credit were denied based on the false late

        payment information in her Equifax consumer report furn,ished by TruPartner. As a result,

        Plaintiff was unable to obtain a loan to purchase the home.

               11.     On or about December 9, 2015, Plaintiff disputed the inaccurate information in

        her consumer file with Equifax. On or about December 24, 2015, Equifax completed its

        reinvestigation. However, Equifax failed to provide Plaintiff with the results of its reinvestigation

        and continued to report the late payment information.

               12.     In or around June of 2016, Plaintiff sought to purchase another home to use as her       G


        primary residence. To finance the purchase, Plaintiff applied for a home loan with one or more

        lenders. However, Plaintiff's requests for credit were denied based on the false late payment




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        information in her Equifax consumer report furnished by TruPartners. As a result, Plaintiff was

        unable to obtain a loan to purchase the home.

               13.     On or about June 24, 2016, TruPartner sent Equifax a universal data form with the

        corrected account information relating to Plaintiff (no late payments).

               14.     On or about July 12, 2016, Polaris Home Funding Corporation denied Plaintiffs

        loan application based on 281ate payments on the TruPartner account.

               15.     In or around July of 2016, Plaintiff sought to purchase another home to use as her

        primary residence. To finance the purchase, Plaintiff applied for a home loan with one or more

        lenders.

               16.     On or about August 11, 2016, a prospective lender, Geneva Financial, LLC, denied

        Plaintiff s home loan application because Equifax failed to give a credit score for Plaintiff. As a

        result, Plaintiffs loan application was denied. Although she could not be on the loan, her

        husband was able to obtain sufficient financing to purchase the home.

               17.     On or around August 24, 2016 and thereafter, Plaintiff requested her consumer

        disclosure and score from Equifax and disputed the completeness of her file. Equifax responded

        by requesting additional information from Plaintiff, which she provided. However, Equifax

        ultimately failed to provide a consumer disclosure or credit score to Plaintiff.

               18.     Thereafter, in November 2016, Plaintiff applied for a loan to cover funeral

        expenses for her daughter. The loan application was denied based on the incomplete or false

        information in Equifax's file, or the absence of a credit score, or both.                             0

               19.     As a direct and proximate result of the conduct of Defendants, Plaintiff suffered

        actual damages, including but not limited to emotional and mental anguish, turmoil, stress,




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        embarrassment, humiliation, emotional distress, inconvenience, loss of privacy, credit denials,

        pecuniary loss, loss of credit opportunities and commercial viability, harm to reputation, postage

        and other expenses, and decrease to her credit score, credit rating, and perceived credit
                                                                                                              0
        worthiness.

               20.     The Defendants' conduct and/or inaction as alleged herein was intentional,

        malicious, fraudulent, oppressive, and was carried out in reckless disregard for the rights of

        Plaintiff, warranting imposition of the maximum statutory penalties under the law and punitive

        damages.

                                     COUNTI
                        WILLFUL NONCOMPLIANCE WITH THE FCRA

               21.     Between approximately May 2015 and the present, Defendant, Equifax, willfully

        failed to comply with the requirements of the FCRA, by, inter alia:

               a.      failing to follow reasonable procedures to assure maxirnum possible accuracy of

                       the information concerning the Plaintiff in her consumer file, in violation of 15

                       U.S.C. § 1681e(a);

               b.      failing to conduct a reasonable reinvestigation to determine whether the

                       information disputed by Plaintiff is inaccurate and record the current status of the

                       disputed information, or delete the item from the file, within thirty (30) days of

                       receipt of Plaintiffs dispute, in violation of 15 U.S.C. § 1681i(a)(1)(A);

               C.      failing to disclose all information in Plaintifff's consumer file to Plaintiff upon
                                                                                                              0
                       request, in violation of 15 U.S.C. § 1681g(a);

               d.      failing to disclose a current credit score and related information to Plaintiff upon

                       request, in violation of 15 U.S.C. § 1681g(f); and,



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                 e.    failing to notify Plaintiff of the results of its reinvestigation within five (5) days

                       after completion of its reinvestigation, in violation of 15 U.S.C. § 1681i(a)(6)(A).

                 22.   Between approximately May 2015 and the present, Defendant TruPartner
                                                                                                                0
        willfully failed to comply with the requirements of the FCRA, by, inter alia:                           4
                                                                                                                0
                                                                                                                0
                                                                                                                w
                 a.    failing to conduct an investigation with respect to the disputed information, in         0
                                                                                                                co
                                                                                                                CD
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        violation of 15 U.S.C. § 1681s-2(b)(1)(A);                                                              Q
                                                                                                                ~
                                                                                                                co
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                                                                                                                U
                 b.    failing to review all relevant information provided by the consumer reporting            a

        agency concerning the Plaintiff, in violation of 15 U.S.C. § 1681s--2(b)(1)(B); and,

                 C.    failing to modify, delete, or permanently block the reporting of inaccurate,

        incomplete, or unverifiable information relating to Plaintiff, to consumer report agencies, in

        violation of 15 U.S.C. § 1681s-2(b)(1)(E).

                 23.   As a result of the Defendants' willful violations of the FCRA, Plaintiff has

        suffered harm and the Defendants are liable to Plaintiff for actual damages, statutory damages,

        punitive damages, plus attorney's fees and costs.

                                     COUNT II
                       NEGLIGENT NONCOMPLIANCE WITH THE FCRA

                  24. In the alternative, Defendants were negligent in failing to comply with the

        requirements of the FCRA and are liable to Plaintiff for actual damages, plus attorney's fees and

        costs.


                                       COUNT III
                          INTENTIONAL OR NEGLIGENT INFLICTION
                                                                                                                0
                                 OF EMOTIONAL DISTRESS

                 25.   Defendants' conduct as herein alleged was intentional, reckless, or negligent.




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                26.    Defendants' conduct was so outrageous and intolerable so as to offend generally

        accepted standards of morality and decency.

                27.    Defendants' conduct as herein alleged was a cause of Plaintiff's emotional

        distress.

                28.    Plaintiff's emotional distress was severe.

                29.    At law, Plaintiff is entitled to an award of compensatory damages against the

        Defendants.

                30.    Pursuant to KRS 411.184(2), Plaintiff is entitled to an award of punitive damages

        against the Defendants.

                                               PRAYER FOR RELIEF

                WHEREFORE, Plaintiff, Angela Wilson, by counsel, demands a judgment against

        Defendants for the following relief:

                a.     actual damages;

                b.     statutory damages;

                C.     punitive damages;

                d.     attorney's fees and costs;

                e.     pre- and post-judgment interest; and,

                f.     any other relief to which Plaintiff may appear entitled.




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                                                                              Clerk




                                                Respectfully submitted,

                                                 TAYLOR COUCH PLLC

                                                /s/Zachary L. Taylor
                                                 ZACHARY L. TAYLOR
                                                                                                  0
                                                2815 Taylorsville Road, Suite 101
                                                Louisville, Kentucky 40205
                                                Phone I Fax: (502) 625-5000
                                                ztaylor@taylorcouchlaw.com

                                                 Counsel for Plaintif, j`~




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  Burlington, KY 41005




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